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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 JON MOORE,                                           Case No. 1:22-cv-09424-MKV

                         Plaintiff,
                                                      NOTICE OF VOLUNTARY
          v.                                          DISMISSAL

 PBF LOGISTICS LP, THOMAS J. NIMBLEY,
 MICHAEL D. GAYDA, BRUCE A. JONES,
 MATTHEW C. LUCEY, C. ERIK YOUNG,
 DAVID ROUSH, and LAWRENCE ZIEMBA,

                         Defendants.



       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

plaintiff Jon Moore (“Plaintiff”) voluntarily dismisses the claims in the captioned action (the

“Action”). Because this notice of dismissal is being filed with the Court before service by

defendants of either an answer or a motion for summary judgment, Plaintiff’s dismissal of the

Action is effective upon the filing of this notice.

 Dated: June 1, 2023                                     Respectfully Submitted,

                                                         /s/ Richard A. Acocelli
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